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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

ANGELA ADAMS,

   Plaintiff,

-vs-                                               CASE NO.: 15-CV-01175-HLA-JRK

REGIONS FINANCIAL CORPORATION,

   Defendant.
                                      /


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


       COMES NOW the Plaintiff, Angela Adams, and the Defendant, Regions Financial

Corp., and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss, with prejudice,

each claim and count therein asserted by Plaintiff against the Defendant in the above styled

action, with Plaintiff and Defendant to bear their own attorney’s fees, costs and expenses.

       Respectfully submitted this 18th day of May, 2016.

/s/Frank H. Kerney, III                            /s/Joshua H. Roberts
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